          4:20-bk-11446 Doc#: 49 Filed: 08/18/22 Entered: 08/18/22 14:37:03 Page 1 of 7

 ​                                          United States Bankruptcy Court
                                    Eastern District of Arkansas, Little Rock Division

 Debtor(s) Forrester, David & Forrester, Jennifer                                                 Case No. 4:20-bk-11446


                                                 Arkansas Chapter 13 Plan
                                                     (Local Form 13-1)


Original Plan [ ]                Amended Plan [X]                    For an amended plan, all applicable provisions must be
                                                                     repeated from the previous plan(s). Provisions may not be
                                                                     incorporated by reference from previously filed plan(s).

                                                                     List below the sections of the plan that have been changed:
                                                                     2.2

                                                                     State the reason(s) for the amended plan, including any
                                                                     changes of circumstances below. If creditors are to be added,
                                                                     please complete Addendum A as well as file any appropriate
                                                                     amended schedules.
                                                                     2.2 Changed Plan Length to 44 months. Changed Employer
                                                                     (pay order has already been sent to new employer)

                                                                        The Amended Plan is filed:            [ ] Before confirmation
                                                                                                              [X] After confirmation

Part 1: Notices
To Debtor(s):   This form sets out options that may be appropriate in some cases, but the presence of an option on the
                form does not indicate that the option is appropriate in your circumstances. Plans that do not comply with
                local rules and judicial rulings may not be confirmable.

                Original plans and amended plans must have matrix(ces) attached or a separate certificate of service
                should be filed to reflect service in compliance Fed. R. Bankr. P. 2002.

To Creditors:   Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should
                read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                an attorney, you may wish to consult one. If you oppose the plan ’         s treatment of your claim or any provision of this
                plan, you or your attorney must file a written objection to confirmation with the United States Bankruptcy Court
                either electronically (if filer is approved for electronic filing) or at the following addresses:

                      For Eastern District cases (Delta, Northern, or Central ***Batesville and Pine Bluff filed prior to
                         11/28/2019***): United States Bankruptcy Court, 300 West 2nd Street, Little Rock, AR 72201

                      For Western District cases (El Dorado, Fayetteville, Fort Smith, Harrison, Hot Springs, or Texarkana
                         Divisions): United States Bankruptcy Court, 35 E. Mountain Street, Fayetteville, AR 72701

                The objection should be filed consistent with the following timelines:

                     [ ] Original plan filed at the time the petition is filed: Within 14 days after the 341(a) meeting of creditors
                         is concluded.

                     [X] Original plan filed after the petition is filed or amended plan (only if filed prior to the 341(a)
                         meeting): Within the later of 14 days after the 341(a) meeting of creditors is concluded or 21 days after
                         the filing of the plan.

                     [ ] Amended plan: Within 21 days after the filing of the amended plan.

                The court may confirm this plan without further notice if no objection to confirmation is timely filed.

The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or not the
            4:20-bk-11446 Doc#: 49 Filed: 08/18/22 Entered: 08/18/22 14:37:03 Page 2 of 7
Debtor(s) Forrester, David & Forrester, Jennifer                    Case No. 4:20-bk-11446


plan includes each of the following items. If an item is checked as“Not included”or if both boxes are checked, the provision
will be ineffective if set out later in the plan.

1.1    A limit on the amount of a secured claim, set out in Section 3.4, which may               [ ] Included     [X] Not included
       result in a partial payment or no payment at all to the secured creditor
1.2    Nonstandard plan provisions, set out in Part 8                                            [ ] Included     [X] Not included


Part 2: Plan Payments and Length of Plan
2.1 The debtor(s) will make regular payments to the trustee as follows:
    Inapplicable portions below need not be completed or reproduced.

      Original plan: The debtor(s) will pay $ 430.00 per month to the trustee. The plan length is 36 months.
          The following provision will apply if completed:

                   (Use additional lines as necessary.)

          Amended plan: Plan payments will change to $430.00 per month beginning on the later of the date of filing of the amended
          plan. The plan length is 44 months.

          The following provision will apply if completed:

              Plan payments will change to $_____ per month beginning on _____.

              Plan payments will change to $_____ per month beginning on _____.
                  (Use additional lines as necessary.)

          The debtor(s) will pay all disposable income into the plan for not less than the required plan term, or the applicable
          commitment period, if applicable, unless unsecured creditors are being paid in full (100%). If fewer than 60 months of
          payments are specified, additional monthly payments will be made to the extent necessary to make the payments to
          creditors specified in this plan.

2.2 Payments shall be made from future income in the following manner:

      Name of debtor Forrester, David

          [ ] Direct pay of entire plan payment or           (portion of payment) per month.

          [X] Employer withholding of $ 430.00 per month.

                   Payment frequency: [ ] monthly, [ ] semi-monthly, [ ] bi-weekly, [X] weekly, [ ] other
                   If other, please specify:
                         Employer name: D & K Farms
                         Address: 613 W. Republican Rd., Greenbrier, AR 72058
                         Phone:

      Name of debtor Forrester, Jennifer

          [ ] Direct pay of entire plan payment or           (portion of payment) per month.

          [ ] Employer withholding of $ 0.00 per month.

                   Payment frequency: [ ] monthly, [ ] semi-monthly, [ ] bi-weekly, [ ] weekly, [ ] other
                   If other, please specify:
                         Employer name:
                         Address:
                         Phone:

2.3 Income tax refunds.

Check one.


Arkansas Plan Form - 1/20                                                                                      Page 2
           4:20-bk-11446 Doc#: 49 Filed: 08/18/22 Entered: 08/18/22 14:37:03 Page 3 of 7
Debtor(s) Forrester, David & Forrester, Jennifer                       Case No. 4:20-bk-11446


    [X] Debtor(s) will retain income tax refunds received during the plan term and have allocated the refunds in the budget.

    [ ] Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
    return and will turn over to the trustee all income tax refunds received during the plan term.

    [ ] Debtor(s) will treat income tax refunds as described below. The debtor(s) will supply the trustee with a copy of each income
    tax return filed during the plan term within 14 days of filing.


2.4 Additional payments.

Check one.
   [X] None. If “
                None”is checked, the rest of § 2.4 need not be completed or reproduced.

Part 3: Treatment of Secured Claims
3.1 Adequate Protection Payments.

    Check one.
    [ ] None. If “
                 None”is checked, the rest of § 3.1 need not be completed or reproduced.

    [X] The debtor(s)’ plan payment to the trustee will be allocated to pay adequate protection payments to secured creditors as
    indicated below. The trustee shall be authorized to disburse adequate protection payments upon the filing of an allowed claim by
    the creditor. Preconfirmation adequate protection payments will be made until the plan is confirmed. Postconfirmation adequate
    protection payments will be made until administrative fees are paid (including the initial attorney ’
                                                                                                        s fee). Payment of adequate
    protection payments will be limited to funds available.

   Creditor and last 4 digits of
                                    Collateral                          Monthly payment amount           To be paid
   account number
   COLONIAL AUTO FINANCE/CM /                                           100.00                           [X] Preconfirmation
   13
                                                                                                         [ ] Postconfirmation

3.2 Maintenance of payments and cure of default (long term-debts, including debts secured by real property that debtor(s)
    intend to retain).

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 3.2 need not be completed or reproduced.

3.3 Secured claims excluded from 11 U.S.C. § 506 (non-506 claims).

    Check one.
    [ ] None. If “
                 None”is checked, the rest of § 3.3 need not be completed or reproduced.

    [X] Claims listed in this subsection consist of debts that were:

        (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
        acquired for the personal use of the debtor(s) (“ 910 car claims”), or
        (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value
        (‘
         PMSI within one year”  ).

    The creditors below will retain their liens and secured claims will be paid in full under the plan at the monthly payment and
    interest at the rate stated below. Unless otherwise ordered by the court, the claim amounts listed on a filed and allowed proof of
    claim will control over any contrary amounts listed below, except as to value, interest rate and monthly payment.

   Creditor and
   last 4 digits of                                         Debt/estimated Value of                                   Monthly
                      Collateral         Purchase date                                            Interest rate
   account                                                  claim          collateral                                 payment
   number
   COLONIAL AUTO                                            8,908.82             8908.82          5.50                269.01
   FINANCE/CM / 13


3.4 Claims for which § 506 valuation is applicable. Request for valuation of security, payment of fully secured claims, and
    modification of undersecured claims.

Arkansas Plan Form - 1/20                                                                                       Page 3
          4:20-bk-11446 Doc#: 49 Filed: 08/18/22 Entered: 08/18/22 14:37:03 Page 4 of 7
Debtor(s) Forrester, David & Forrester, Jennifer                      Case No. 4:20-bk-11446



    Check one.
    [X] None. If “
                 None”is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral.

    [X] None. If “
                 None”is checked, the rest of § 3.5 need not be completed or reproduced.

3.6 Secured claims not provided treatment. In the event that a secured claim is filed and allowed that is not provided treatment in
    the plan, the trustee shall pay such creditor the claim amount without interest after this plan in all other respects has been
    completed.

Part 4: Treatment of Fees and Priority Claims
4.1 General.

    Trustee’ s fees and all allowed priority claims, including domestic support obligations, will be paid in full without postpetition
    interest.

4.2 Trustee’
           s fees.

    The trustee’
               s fees are governed by statute and may change during the course of the case.

4.3 Attorney’
            s fees.

    The attorney’
                s fee is subject to approval of the court by separate application. The following has been paid or will be paid if
    approved by the court:

        Amount paid to attorney prior to filing:     $ 0.00

        Amount to be paid by the trustee:            $ 3,500.00

        Total fee requested:                         $ 3,500.00

    Upon confirmation, the attorney shall receive an initial fee as provided in the application and approved by the court from funds
    paid by the debtor(s), after administrative costs have been paid. The remaining fee will be paid at the percentage rate of the total
    disbursed to creditors each month provided in the application approved by the court.

        The initial fee and percentage rate requested in the application are $ 1,200.00 and 25.00 %, respectively.

4.4 Priority claims other than attorney’
                                       s fees and those treated in § 4.5.

    Filed and allowed priority claims (usually tax claims), including without limitation, the following listed below, will be paid in full in
    accordance with 11 U.S.C. § 1322(a)(2), unless otherwise indicated. For claims filed by governmental units, the categorization of
    the claim by the creditor (secured, priority, nonpriority unsecured) and amounts shall control over any contrary amounts unless
    otherwise ordered by the court.

   Creditor                                        Nature of claim (if taxes, specify type and years) Estimated claim amount
   None

4.5 Domestic support obligations.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 4.5 need not be completed or reproduced.

Part 5: Treatment of Nonpriority Unsecured Claims
5.1 Nonpriority unsecured claims.

    Allowed nonpriority unsecured claims shall be paid at least as much as they would receive if the debtor(s) filed a Chapter 7 case.
    Allowed nonpriority unsecured claims shall be paid in full (100%) unless a different treatment is indicated below. For
    above median income debtor(s), the distribution to unsecured creditors includes any disposable income pool (monthly disposable

Arkansas Plan Form - 1/20                                                                                         Page 4
          4:20-bk-11446 Doc#: 49 Filed: 08/18/22 Entered: 08/18/22 14:37:03 Page 5 of 7
Debtor(s) Forrester, David & Forrester, Jennifer                         Case No. 4:20-bk-11446


    income times 60 months) from Form 122C-2, unless the debtor(s) are unable to meet the disposable income pool based on the
    following circumstances:

    Check one, if applicable.
    [X] A PRORATA dividend, including disposable income pool amounts, if applicable, from funds remaining after payment of all
    other classes of claims; or

    [ ] Other. Please specify .

5.2 Special nonpriority unsecured claims and other separately classified nonpriority unsecured claims.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 5.2 need not be completed or reproduced.

5.3 Maintenance of payments and cure of any default on nonpriority unsecured claims.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 5.3 need not be completed or reproduced.

Part 6: Contracts, Leases, Sales and Postpetition Claims
6.1 Executory Contracts and Unexpired Leases.

    Check one.
    [ ] None. If “
                 None”is checked, the rest of § 6.1 need not be completed or reproduced.

    The executory contracts and unexpired leases listed below are assumed or rejected as indicated.
    [X] Assumed items. The following executory contracts and unexpired leases are assumed, and payments due after the filing of
    the case will be paid directly by debtor(s), or by the trustee, as set forth below. Debtor(s) propose to cure any default by paying
    the arrearage on the assumed leases or contracts in the amount listed on the filed and allowed proof of claim, if contrary to the
    amount listed below.

                      Description of                                               Number of                         Monthly
                                                Payment to be   Payment                            Arrearage
   Creditor           contract or                                                  remaining                         arrearage
                                                paid by         amount                             amount
                      property                                                     payments                          payment
   DT& J RTO,         Monthly Payment:          Debtor          285.97             36              0.00              0.00
                      285.9736 Payments
   LLC                Left12x32 Building - Re


    [ ] Rejected items. The debtor(s) reject the following executory contracts or unexpired leases. The debtor(s) request that upon
    confirmation of this plan, the stay under 11 U.S.C. §§ 362(a) and 1301(a) be terminated as to the property only. No further
    payments are to be made to the creditor on the contract or lease. However, the creditor may file a claim for the deficiency and
    will be treated as a nonpriority unsecured creditor.

   Creditor and last 4 digits of account number                           Description of contract or property
   None

6.2 Sale of assets.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 6.2 need not be completed or reproduced.

6.3 Claims not to be paid by the trustee.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 6.3 need not be completed or reproduced.

6.4 Postpetition claims.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 6.4 need not be completed or reproduced.

Part 7: Vesting of Property of the Estate
Arkansas Plan Form - 1/20                                                                                       Page 5
          4:20-bk-11446 Doc#: 49 Filed: 08/18/22 Entered: 08/18/22 14:37:03 Page 6 of 7
Debtor(s) Forrester, David & Forrester, Jennifer                Case No. 4:20-bk-11446



7.1 Property of the estate will vest in the debtor(s) upon:

    Check the applicable box.

    [ ] plan confirmation.
    [X] entry of discharge.
    [ ] other:

Part 8: Nonstandard Plan Provisions
    [X] None. If “
                 None”is checked, the rest of Part 8 need not be completed or reproduced.

    Under Bankruptcy Rule 3015.1(c), nonstandard provisions must be set forth below. A nonstandard provision is a
    provision not otherwise included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in
    this plan are ineffective.

8.1 The following plan provisions will be effective only if there is a check in the box “included”in § 1.2.


Part 9: Signatures
    By filing this document, the attorney for the debtor(s) or the debtor(s) themselves, if not represented by an attorney,
    certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to those contained in plan
    form used [*pending approval*] in the Eastern and Western Districts of Arkansas, other than any nonstandard
    provisions included in Part 8.

/s/ Matthew D Mentgen                                             Date August 28, 2022
Signature of Attorney for Debtor(s)


Signature(s) of Debtor(s)
(required if not represented by an attorney;
Otherwise optional)




Arkansas Plan Form - 1/20                                                                              Page 6
          4:20-bk-11446 Doc#: 49 Filed: 08/18/22 Entered: 08/18/22 14:37:03 Page 7 of 7
Debtor(s) Forrester, David & Forrester, Jennifer                   Case No. 4:20-bk-11446



                                          Addendum A –For Amended Plans

                       Listing of Additional Creditors and Claims for Plan Purposes
Note: While additional creditors may be listed on Addendum A, the debtor(s) also must file amended schedules as appropriate.

A.1     Prepetition Nonpriority Unsecured Claims.
    The following are creditors with prepetition nonpriority unsecured claims that are added to the plan. These creditors will be
    provided treatment as described in Part 5.1 of the plan.

                                           Last four digits of       Nature of debt and date
   Name and address of creditor                                                                       Amount of debt
                                           account number            incurred




A.2     Postpetition Nonpriority Unsecured Claims.
    The following are creditors with postpetition nonpriority unsecured claims pursuant to 11 U.S.C. §§ 1305 and 1322(b)(6) that are
    added to the plan by the debtor(s). The creditors listed below are entitled to participate in the debtor(s)’
                                                                                                               bankruptcy case at the
    election of the creditor.

    A creditor may elect to participate in the plan by filing a proof of claim for the postpetition claim . The claim will be
    treated as though the claim arose before the commencement of the case and will be provided treatment as described in
    Part 5.1 of the plan. Upon completion of the plan and case, any unpaid balance of such claim may be subject to
    discharge.

                                       Last four
                                                                                                             Approval to incur
                                       digits of        Nature of debt and
   Name and address of creditor                                                   Amount of debt             obtained from trustee
                                       account          date incurred
                                                                                                             or court
                                       number
                                                                                                             [    ] Yes
                                                                                                             [    ] No
                                                                                                             [    ] Yes
                                                                                                             [    ] No
                                                                                                             [    ] Yes
                                                                                                             [    ] No
                                                                                                             [    ] Yes
                                                                                                             [    ] No




Arkansas Plan Form - 1/20                                                                                        Page 7
